     Case 1:25-cv-02660-OEM-TAM                          Document 4          Filed 05/13/25      Page 1 of 2 PageID #: 24

AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                      ROCIO MARTINEZ                                  )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                 v.                                           Civil Action No.    25-cv-2660
                                                                      )
          ASTROS FOOD CORP (DBA ATHENS                                )
           GRILL SPORTS BAR) and MISAEL                               )
               HERNANDEZ, individually                                )
                                                                      )
                           Defendant(s)                               )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) ASTROS FOOD CORP (DBA ATHENS GRILL
                                           SPORTS BAR) and MISAEL HERNANDEZ
                                           30-11 30th Ave, Long Island City, NY 11102




          A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you are the
United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ. P. 12
(a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose
name and address are: Lina Stillman, Esq.Attorneys for PlaintiffStillman Legal, P.C.42 Broadway, 12t FloorNew York, New
York 10004Tel (212) 203-2417




If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

                                                                                 BRENNA B. MAHONEY
                                                                                 CLERK OF COURT


Date:       5/13/2025
                                                                                            Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place) on (date) ; or



           ’ I left the summons at the individual’s residence or usual place of abode with (name) , a person of
           suitable age and discretion who resides there, on (date)

                                                   , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                             , who is designated by law to accept service of
           process on behalf of (name of organization)

                                                                                              on (date)                           ;
         or ’ I returned the summons unexecuted because
         ; or

           ’ Other (specify):
                                                                                                                                      .


           My fees are $                           for travel and $                  for services, for a total of $      0.00         .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

Additional information regarding attempted service, etc:




           Print                       Save As...                                                                     Reset
